                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                          )
                                                   )
   ROLTA INTERNATIONAL, INC.,                      ) CASE NO. 20-82282-CRJ11
   EIN: xx-xxx1132                                 ) CHAPTER 11
                                                   )
       Debtor.                                     )


                   AMENDED DECLARATION OF PREETHA PULUSANI

        I, Preetha Pulusani, hereby declare:

        1.       I am the President of International Operations for Rolta and President of Rolta

 International, Inc. the US subsidiary and international headquarters of Rolta India, Ltd. Rolta

 International, Inc., Rolta Global B.V., Rolta UK Limited, Rolta Middle East FZ-LLC, Rolta

 Americas LLC and Rolta, LLC (“Rolta Debtors”), are all international subsidiaries or affiliates of

 Rolta India, Ltd and are part of Rolta’s international operations. In my capacity, I am familiar

 with the day-to-day operations, business, and financial affairs of the Rolta Debtors.

        2.       I affirm there are bank accounts held in the United States with Evolve Bank & Trust

 located in Memphis, Tennessee for Rolta Global B.V., Rolta UK Limited, and Rolta Middle East

 FZ, LLC. Balance confirmation letters from Evolve Bank & Trust for the months of September

 2020 and October 2020 relating to the bank accounts of Rolta Global B.V., Rolta UK Limited, and

 Rolta Middle East FZ, LLC are attached hereto as Exhibit 1.

        3.       Management organization information for Rolta International, Rolta Middle East,

 and Rolta-Europe are attached hereto as Exhibit 2

        4.       I submit this declaration in support of the bankruptcy petitions filed

 contemporaneously by the Rolta Debtors pursuant to Chapter 11 of Title 11 of the United States

 Code, 11 U.S.C. § 101 et seq.




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        5.      I affirm I work remotely, by electronic means, as the President of International

 Operations for Rolta from my primary residence located in Madison County, Alabama. I have in

 fact been the “nerve center” for Rolta International and supervise all international operations (other

 than India) from my home in Madison County, Alabama. The Executive Vice President of Rolta

 International, Blane Schertz, also performs his duties for the company primarily from his home in

 Madison County, Alabama. Further, due to the pandemic, I have had only limited travel since

 March of 2020. As such, the nexus of management operations has been in the Northern District

 of Alabama for the vast majority of the last 180 days.

        6.      I also control and supervise the operations of Rolta UK and Rolta Middle East FZ,

 LLC from my primary residence located in Madison County, Alabama. The nexus of management

 operations for all of the Rolta Debtors for the vast majority for the last 180 days has been in the

 Northern District of Alabama.

        7.      On October 29, 2020, (the “Petition Date”), Rolta Debtors filed with this Court a

 voluntary petition for relief under title 11 of the United States code, 11 U.S.C. § 101, et seq. (the

 “Bankruptcy Code”). To enable the Rolta Debtors to operate effectively and minimize any

 disruption caused by the commencement of the Chapter 11 case, Rolta Debtors have requested

 certain relief in “first day” motions and applications filed with this Court (collectively, the “First

 Day Pleadings”). Among other things, the First Day Pleadings seek to ensure the continuation of

 the Rolta Debtors’ tax deposits, payment of employee wages and benefits, without interruption,

 authorize the use of cash collateral, and establish certain other administrative matters such as hiring

 professionals to facilitate the transition of the Rolta Debtors into Chapter 11. The relief requested

 in the First Day Pleadings is critical to the Rolta Debtors’ effective reorganization and to prevent

 immediate and irreparable harm to the Rolta Debtors and its estate.




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        8.      I submit this declaration to assist the Court and other interested parties in

 understanding the relevant facts and circumstances that led to the commencement of the Rolta

 Debtors’ Chapter 11 case and in support of the First Day Pleadings.

        9.      I have reviewed the facts set forth in each of the Amended First Day Pleadings and

 Supplements thereto, and attest to the material accuracy thereof. Except as otherwise indicated,

 all facts set forth herein are based on my personal knowledge, my discussions with other employees

 or members of the Rolta Debtors’ management, my review of relevant documents and books and

 records of the Rolta Debtors, or my opinion based on my experience, knowledge and information

 concerning the Rolta Debtors’ operations and financial affairs.

        10.     The only potential lien holder is Plaintiff Judgement Creditor Pala Assets Holdings

 LTD et al. v. Rolta, LLC et al., Index No. 652798/2018, in the Supreme Court of the State of New

 York, County of New York dated August 24, 2020, and filed with the Clerk of Court September

 2, 2020.

        11.     The Judgement Creditor has not filed any enforcement action or attempted to

 perfect their judgement interest in any locale other than New York and Delaware.

        12.     None of the six (6) related Rolta Debtors maintain operations in New York or

 Delaware, nor do they generate Cash Collateral in these jurisdictions. There are dormant bank

 accounts in Delaware for Rolta Global, B.V., Rolta UK Limited, and Rolta Middle East FZ, LLC.

                                  The Rolta Debtors’ Business

        13.     Rolta Debtors are a multi-national provider of IT solutions for vertical segments,

 including Federal and State Governments, Defense, Utilities and Manufacturing. These enterprise

 level solutions are built around industry-leading IT/GIS solutions, Rolta Debtors’ intellectual

 property and domain expertise with projects executed globally in multiple countries. Key solutions




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 are GIS and Mapping solutions, system integration and consulting services. Rolta Debtors have

 international offices in UK, Netherlands, UAE, and United States with Company headquarters

 based in India.

        14.        Rolta Debtors had 43 employees as of September 30, 2020, and last fiscal year’s

 (year ending March 30, 2020) gross revenues of $10,464,648.

                                               Operations

        15.        Attached as Exhibit “A” is the 13 Week Rolling Budget proposed weekly budget

 for operation on an interim basis.

                                          The Chapter 11 Case

        16.        Rolta Debtors commenced this case to reorganize its financial affairs. The Rolta

 Debtors intend to focus on stabilizing and improving operations, after which Rolta Debtors

 currently intend to propose a plan of reorganization.

        17.        If called upon to testify, I would testify competently to the facts set forth in this

 Declaration. I am authorized to make this Declaration on behalf of the Rolta Debtors.

        I declare under penalty of perjury that the foregoing is true and correct.

        Dated this the 20th day of November, 2020.


                                                         /s/ Preetha Pulusani
                                                         PREETHA PULUSANI
                                                         PRESIDENT INTERNATIONAL OPERATIONS


        SWORN AND SUBSCRIBED to before me this 20th day of November, 2020.



                                                         /s/ Jessica K. Manning
                                                         NOTARY PUBLIC

                                                         My Commission Expires:         9/28/2021




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                                                  EXHIBIT 1




 October 1, 2020

 Prime Clerk, LLC
 830 3rd Avenue, 9th Floor
 New York, NY 10022

 RE: Rolta Middle East FZ LLC

 Dear Sir or Madam,

 In response to your request to confirm the balances in the Rolta Middle East FZ-LLC account, please find the
 information below. The amounts listed below have been confirmed as of the close of business September 30,
 2020.

 Rolta Middle East FZ LLC (xxxxx8490 and xxxxxxx512)
         Funding Amount:             $4,879.72
         Distributed Funds:         ($0.00)
         Ending Balance:             $4,879.72

 If additional information is necessary, please do not hesitate to contact me.


 Sincerely,




 Crystal M. McMahan, CTFA
 Senior Vice President – Trust Division
 Evolve Bank & Trust
 6070 Poplar Ave., Ste. 100
 Memphis, TN 38122
 (901) 260-9986




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 October 1, 2020

 Prime Clerk, LLC
 830 3rd Avenue, 9th Floor
 New York, NY 10022

 RE: Rolta UK Limited

 Dear Sir or Madam,

 In response to your request to confirm the balances in the Rolta UK Limited account, please find the information
 below. The amounts listed below have been confirmed as of the close of business September 30, 2020.

 Rolta UK Limited (xxxxx8524 and xxxxxxx508)
         Funding Amount:            $9,848.74
         Distributed Funds:        ($0.00)
         Ending Balance:            $9,848.74

 If additional information is necessary, please do not hesitate to contact me.


 Sincerely,




 Crystal M. McMahan, CTFA
 Senior Vice President – Trust Division
 Evolve Bank & Trust
 6070 Poplar Ave., Ste. 100
 Memphis, TN 38122
 (901) 260-9986




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 October 1, 2020

 Prime Clerk, LLC
 830 3rd Avenue, 9th Floor
 New York, NY 10022

 RE: Rolta Global BV

 Dear Sir or Madam,

 In response to your request to confirm the balances in the Rolta Global BV account, please find the information
 below. The amounts listed below have been confirmed as of the close of business September 30, 2020.

 Rolta Global BV (xxxxx8515 and xxxxxxx510)
          Funding Amount:           $9,878.72
          Distributed Funds:       ($0.00)
          Ending Balance:           $9,878.72

 If additional information is necessary, please do not hesitate to contact me.


 Sincerely,




 Crystal M. McMahan, CTFA
 Senior Vice President – Trust Division
 Evolve Bank & Trust
 6070 Poplar Ave., Ste. 100
 Memphis, TN 38122
 (901) 260-9986




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 November 2, 2020

 Prime Clerk, LLC
 830 3rd Avenue, 9th Floor
 New York, NY 10022

 RE: Rolta Middle East FZ LLC

 Dear Sir or Madam,

 In response to your request to confirm the balances in the Rolta Middle East FZ-LLC account, please find the
 information below. The amounts listed below have been confirmed as of the close of business October 31, 2020.

 Rolta Middle East FZ LLC (xxxxx8490 and xxxxxxx512)
         Funding Amount:             $4,879.72
         Distributed Funds:         ($0.00)
         Ending Balance:             $4,879.72

 If additional information is necessary, please do not hesitate to contact me.


 Sincerely,




 Crystal M. McMahan, CTFA
 Senior Vice President – Trust Division
 Evolve Bank & Trust
 6070 Poplar Ave., Ste. 100
 Memphis, TN 38122
 (901) 260-9986




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 November 2, 2020

 Prime Clerk, LLC
 830 3rd Avenue, 9th Floor
 New York, NY 10022

 RE: Rolta UK Limited

 Dear Sir or Madam,

 In response to your request to confirm the balances in the Rolta UK Limited account, please find the information
 below. The amounts listed below have been confirmed as of the close of business October 31, 2020.

 Rolta UK Limited (xxxxx8524 and xxxxxxx508)
         Funding Amount:            $9,848.74
         Distributed Funds:        ($0.00)
         Ending Balance:            $9,848.74

 If additional information is necessary, please do not hesitate to contact me.


 Sincerely,




 Crystal M. McMahan, CTFA
 Senior Vice President – Trust Division
 Evolve Bank & Trust
 6070 Poplar Ave., Ste. 100
 Memphis, TN 38122
 (901) 260-9986




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 November 2, 2020

 Prime Clerk, LLC
 830 3rd Avenue, 9th Floor
 New York, NY 10022

 RE: Rolta Global BV

 Dear Sir or Madam,

 In response to your request to confirm the balances in the Rolta Global BV account, please find the information
 below. The amounts listed below have been confirmed as of the close of business October 31, 2020.

 Rolta Global BV (xxxxx8515 and xxxxxxx510)
          Funding Amount:           $9,878.72
          Distributed Funds:       ($0.00)
          Ending Balance:           $9,878.72

 If additional information is necessary, please do not hesitate to contact me.


 Sincerely,




 Crystal M. McMahan, CTFA
 Senior Vice President – Trust Division
 Evolve Bank & Trust
 6070 Poplar Ave., Ste. 100
 Memphis, TN 38122
 (901) 260-9986




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         Brand Rolta



         The Rolta Approach                                        Kamal K. Singh

         Management – India
                                                                   Chairman

         Management – International



         Management – Europe


                                                                   Preetha Pulusani
         Management – Middle East &

         Africa
                                                                   President,
                                                                   International Operations
         Alliances & Partnerships



         Intellectual Property


                                                                   Reida Elwannas                                         Shafik Jiwani
         Excellence in Quality

                                                                   President, GIS/Mapping                                 President, GIS/Mapping
         Accolades



         Corporate Social Responsibility




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   Homeland & Maritime Security              Smart City Solutions                     Rolta IT-OT Fusion™                       Application Development & Maintenance

   Govt., Infra. & Natural Resources         Cloud Security & IT Transformation       Rolta iPerspective™                       Managed Services

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   Chemicals                                 Enterprise Applications                                                            Business Consulting
                                                                                      Rolta OnPoint
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                                                                                      Rolta GeoCAD™
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      The Rolta Approach                       Kamal K. Singh

      Management – India
                                               Chairman

      Management – International



      Management – Europe


                                               Preetha Pulusani                            C R Howdyshell
      Management – Middle East &

      Africa
                                               President,                                  President,
                                               International Operations                    Rolta AdvizeX
      Alliances & Partnerships
                                                                                           Technologies,
      Intellectual Property                                               Enterprise IT Solutions

      Excellence in Quality


                                               Reida Elwannas
      Accolades

                                               President, GIS/Mapping
      Corporate Social Responsibility




                                               Shafik Jiwani                               Blane Schertz

                                               President, GIS/Mapping                      EVP, Business Operations




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                                                                   President,                                             President, GIS/Mapping
                                                                   International Operations
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